

Hart v Cappa (2025 NY Slip Op 02158)





Hart v Cappa


2025 NY Slip Op 02158


Decided on April 15, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 15, 2025

Before: Kern, J.P., Gesmer, Mendez, Michael, JJ. 


Index No. 156732/16|Appeal No. 4119|Case No. 2024-02394|

[*1]Penny Hart, Appellant,
vThomas Cappa, Respondent.


Schwartz, Conroy &amp; Hack, PC, Garden City (Stephen H. Broer of counsel), for appellant.
Gravante, Gravante &amp; Looby, LLP, Brooklyn (Mary Margaret Looby of counsel), for respondent.



Order and judgment (one paper), Supreme Court, New York County (James G. Clynes, J.), entered on or about January 18, 2024, and bringing up for review a decision after a nonjury trial, same court and Justice, entered October 5, 2023, which, to the extent appealed from, dismissed plaintiff's fourth cause of action for conversion, unanimously affirmed, without costs.
The decision following a non-jury trial should not be disturbed on appeal unless "it is obvious that the court's conclusions could not be reached under any fair interpretation of the evidence, especially when the findings of fact rest in large measure on considerations relating to the credibility of witnesses" (Thoreson v Penthouse Intl. , 179 AD2d 29, 31 [1st Dept 1992], affd  80 NY2d 490 [1992]). Here, Supreme Court's findings were not obviously incorrect and were supported by a fair interpretation of the evidence.
We have considered plaintiff's remaining contentions and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 15, 2025








